                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

ROBERTA MACK-COX,                                §
             Plaintiff,                          §
                                                 §
                                                 §     No. 1:10-cv-00335-TDS-WWD
                                                 §
v.                                               §
                                                 §
DOLGENCORP, INC.,                                §
              Defendant.                         §

        JOINT MOTION FOR ORDER APPROVING INDIVIDUAL SETTLEMENT

         Plaintiff Roberta Mack-Cox (“Plaintiff”) and Defendant Dolgencorp, Inc. (“Defendant”

or “Dollar General”) (collectively referred to herein as “Parties”) file this Joint Motion for Order

Approving Individual Settlements, and would show the Court as follows:

                                                 I.
                                         INTRODUCTION

         In this Fair Labor Standards Act (“FLSA”) action, the Plaintiff and Defendant jointly

request that the Court enter a stipulated order approving the individual settlement reached

between the Parties in resolution of a bona fide dispute regarding Plaintiff’s asserted entitlement

to damages under the FLSA.         The Parties have carefully and exhaustively negotiated an

individual settlement in this action. They have agreed to resolve the disputed factual and legal

issues on terms set forth in the individual settlement agreement, which is described below (the

“Agreement”).

         The Parties now seek approval of the individual settlement. Although the Fourth Circuit

has not set forth specific guidelines for approval of an FLSA settlement, the Eleventh Circuit

has, as explained in Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350 (11th Cir. 1982). In

the “context of suits brought directly by employees against their employer under section 216(b)

to recover back wages for FLSA violations,” the Parties must present any proposed settlement to

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the district court, which “may enter a stipulated judgment after scrutinizing the settlement for

fairness.” Id. at 1353. See also Boone v. City of Suffolk, Va., 79 F. Supp.2d 603, 605 (E.D. Va.

1999) (FLSA overtime settlement must be overseen by the Department of Labor or approved for

fairness and reasonableness by a district court).

         The Parties request that this Court consider this individual settlement under the

procedures and standards set forth in Lynn’s Food Stores, 679 F.2d at 1350. The Court will find,

after scrutinizing the settlement, that the agreement is fair and should be approved.            The

settlement agreement reflects reasonable compromises of issues actually in dispute, the

settlement was reached in an adversarial context in which the Plaintiff was represented by

competent and experienced counsel, and the totality of the proposed settlement is fair and

reasonable.

                                                    II.
                                       PROCEDURAL HISTORY

         Plaintiff filed this lawsuit in the United States District Court for the Northern District of

Alabama, Western Division on or around August 8, 2006, alleging that Defendant violated the

FLSA. Defendant filed its Original Answer on or around September 5, 2006. This case was

transferred to this jurisdiction on our around April 26, 2010. This Plaintiff has now reached an

agreed settlement as to Plaintiff’s claims in Plaintiff’s individual lawsuit with Defendant.

         Plaintiff claims that Plaintiff worked for the Defendant and was misclassified as an

exempt employee.        Plaintiff alleged Plaintiff regularly worked more than 40 hours in a

workweek. As a result, Plaintiff contends that Plaintiff was denied overtime owed to Plaintiff for

hours worked in excess of 40 in any workweek.                Defendant denies that Plaintiff was

misclassified. Defendant continues to deny any wrongdoing whatsoever and does not admit to

any violation of law, statute, or regulation.



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                                            III.
                          THE COURT SHOULD APPROVE THE AGREEMENT

         This Court should approve this Agreement because the settlement is the product of

robustly contested litigation, Plaintiff is represented by competent and experienced counsel, and

the settlement agreement reflects a reasonable compromise over disputed issues. The settlement

provisions also are fair and reasonable.

         An FLSA claim, except in two circumstances, cannot be waived or settled. Brooklyn Sav.

Bank v. O’Neil, 324 U.S. 697, 706 (1945). The exceptions are (1) that the Secretary of Labor can

supervise the payment of back wages, or (2) that the employer and employee present the

proposed settlement to the district court for approval. 29 U.S.C. § 216(c); Lynn’s Food Stores,

Inc. v. United States, 679 F.2d 1350, 1354 (11th Cir. 1982). Both Plaintiff and Defendant

request this Court to approve the Parties’ individual settlement agreement.

         A district court, when reviewing a proposed settlement of an FLSA claim must

“scrutiniz[e] the settlement for fairness” and decide whether the proposed settlement is a “fair

and reasonable resolution of a bona fide dispute over FLSA provisions.” Id. at 1353, 1355.

Lynn’s Food Stores essentially established four factors for a district court to examine to

determine whether to approve a FLSA Settlement:

         1.       Was the settlement achieved in an adversarial context?

         2.       Was the Plaintiff represented by attorneys who can protect their rights?

         3.       Does the settlement reflect a reasonable compromise over issues that are actually

                  in dispute?

         4.       Is the settlement fair?

Id. at 1353-54.

         The Agreed Stipulation, attached as Exhibit 1 hereto, reveals that the settlement was

negotiated at arm’s length by experienced counsel who protected the rights of the Parties. The
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settlement reflects reasonable compromises regarding bona fide disputes between the Parties

regarding the questions of liability and the amount of alleged damages under the FLSA.

Furthermore, the Parties have agreed in the Agreed Stipulation that the settlement is fair, just,

and adequate to settle the claims of the individual Plaintiff.

         Here, the settlement is fair and reasonable. Plaintiff may get nothing if this case were to

proceed through trial. Even if Plaintiff was to prevail at trial on the issue of liability, a process

likely to consume several more months, Plaintiff’s damages might not exceed the amount to

which Plaintiff has agreed to settle at this stage. Finally, the settlement is the product of arms-

length bargaining conducted by experienced legal counsel. The Court should, in any event, take

into account the risks inherent in litigation. “The fact that a proposed settlement may only

amount to a fraction of the potential recovery does not indicate that the settlement is not fair and

reasonable,” after taking into account the risks and costs of litigation. Quintanilla v. A&R

Demolition Inc., No. 04-cv-1965, 2008 U.S. Dist. LEXIS 37449 (S.D. Tex. May 7, 2008) (citing

City of Detroit v. Grinnell Corp., 495 F.2d 448, 455 (2d Cir. 1974)).

         The endorsement of the settlement by counsel for both Parties is a “factor that weighs in

favor of approval.” Quintanilla, 2008 U.S. Dist. LEXIS at *15. In reviewing the opinions of

counsel, “a court should bear in mind that counsel for each side possess[es] the unique ability to

assess the potential risks and rewards of litigation. Id. at *14 (citing San Antonio Hispanic Police

Officers’ Org., Inc. v. City of San Antonio, 188 F.R.D. 433, 461 (W.D. Tex. 1999)). In this case,

Plaintiff’s attorneys are fully aware of the factual contentions of their client and are in the best

position to opine as to whether this settlement produces fair results after consideration of risks.

         In a series of cases involving Dollar General Store Managers in another jurisdiction,

summary judgment was granted as to seven Plaintiffs, only to be subsequently vacated on appeal

and then later denied. See Allen v. Dolgencorp, Inc., 513 F. Supp. 2d 1215 (N.D. Ala. 2007)

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rev’d and vacated by 2008 U.S. App. LEXIS 11506 (11th Cir. Ala. May 23, 2008). Accordingly,

none of the Parties could reasonably have any level of certainty as to the ultimate probability of

success.

                                           IV.
                        ADDITIONAL FACTORS TO CONSIDER IN ASSESSING
                              REASONABLENESS OF SETTLEMENTS

         Defendant asserts that its potential exposure in Plaintiff’s individual claim is minimal, if

any. Defendant’s position is based, among other things, on the fact that other federal courts have

ruled that Dollar General Store Managers are exempt managerial employees whose primary duty

is management, including ten such opinions in the past year alone. See King v. Dolgencorp (No.

3:09-cv-00146 (M.D. Pa. May 6, 2010)); Johnson v. DG Retail (No. 1:08-cv-123, 2010 U.S.

Dist. LEXIS 47416 (D. Utah May 13, 2010)); Noble v. Dolgencorp (No. 5:09-cv-00049 (S.D.

Miss. May 11, 2010)); Hartman v. Dolgencorp of Texas, Inc. (No. 6:09-cv-000009 (N.D. Tex.

June 24, 2010)); Mayne-Harrison v. Dolgencorp, Inc. (No. 1:09-cv-42 (N.D. W.Va. September

17, 2010)); Roberts v. Dolgencorp, Inc. (No. 2:09-cv-0005 (M.D. Tenn. November 18, 2010));

Speak v. Dolgencorp of Texas, Inc. (No. 3:09-cv-124-F (N.D. Tex. December 28, 2010)); Brown-

Harrison v. Dolgencorp of Texas, Inc. (No. 3:09-cv-116-F (N.D. Tex. December 28, 2010));

Ravas-Houllion v. Dolgencorp, Inc. (No. 4:09-cv-57-BR (E.D. North Carolina January 19,

2011)); and Rogers-Andrews v. Dolgencorp, Inc. (No. 4:09-cv-58-BR (E.D. North Carolina

January 19, 2011)); see also, Bledsoe v. Dolgencorp, Inc. (C/A No. 3:99-3761-17 (D.S.C.

October 4, 2000)). Attached as Exhibits 2-11 are true and correct copies of these opinions for

the Court’s consideration in relation to this Motion.

         The Parties have entered into a proposed individual confidential settlement agreement to

avoid the necessity, expense, inconvenience and uncertainty of litigation. The Parties, with the




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Court’s approval, would like to resolve and settle all claims and disputes between them arising

out of, or in any way related to, Plaintiffs’ claims under the Fair Labor Standards Act.

         Following the Parties’ extensive negotiations, Plaintiff reached a confidential settlement

agreement with Defendant.        While not intending to waive the confidential nature of the

settlement agreement, the Parties are willing to submit the exact amount of the settlement, or the

settlement agreement itself, for in camera inspection (or, alternatively, to file the same under

seal) to enable the Court to assess the reasonableness of the settlements if requested to do so.

                                               V.
                                           CONCLUSION

         The Parties believe that the settlement reached was a fair and reasonable compromise of

the respective positions of the Parties. The Parties therefore respectfully request the Court

approve the individual settlement and enter the Proposed Order. Entry of the Proposed Order

will “secure the just, speedy and inexpensive determination” of these actions in accordance with

FED. R. CIV. P. 1.




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         Respectfully submitted this the 13th day of May, 2011.


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